DocuSign Envelope ID: AF2E0414-D897-4A76-8489-47038F4ED66B
               Case 2:23-cv-03689-KM-JRA Document 6 Filed 08/02/23 Page 1 of 1 PageID: 32
                                                                                                                     1° jp0191,!1
                                                                                                         III Il 11111223072 11Ill III
 AO 440 (Rev. 06/12) Summons in a Civil Action                    RETURN OF SERVICE

 SERVICE OF:                 SUMMONS, AMENDED COMPLAINT, CERTIFICATION
 EFFECTED (1) BY ME:         VICTOR RODRIGUEZ
 TITLE:                      PROCESS SERVER
                                                                    DATE: 7/26/2023 11:06:38 AM


 CHECK ONE BOX BELOW TO INDICATE APPROPRIATE METHOD OF SERVICE:
 [X] Served personally upon the defendant
 INTERNATIONAL LONGSHOREMEN'S ASSOCIATION LOCAL 1233
 Place where served:
 19 FENWICK ST.         NEWARK NJ 07114
 [ ] Left copies thereof at the defendant's dwelling house or place of business with a person of suitable age and discretion then residing
 therein. Name of person with whom the summons and complaint were left:
 MS BAILEY
 Relationship to defendant     ASSISTANT

 Description of Person Accepting Service:

 SEX:F      AGE:51-65 HEIGHT: 5'4"-5'8"          WEIGHT: 161-200 LBS.                SKIN:BLACK          HAIR: BLACK     OTHER:

 [X] To the best of my knowledge, said person was not engaged in the U.S. Military at the time of service




                                                           STATEMENT OF SERVER

  TRAVEL$           .                                   SERVICES $               .                             TOTAL $       .

                                                          DECLARATION OF SERVER

           I declare under penalty of perjury under the laws of the United States of America that the foregoing information contained in
                                        this Return of Se ' oägerim§Mament of Server is true and correct.
                                                       D c ?ye rit(eurieepogetyiEz-Sig nature

 DATE:    07/26/2023                                        rIktnrgitii1P1FddA                    L.S.

                                                    SIGNATURE OF VICTOR RODRIGUEZ
                                                   GUARANTEED SUBPOENA SERVICE, INC.
                                                          2009 MORRIS AVENUE
                                                             UNION, NJ 07083




   ATTORNEY:        VINCENT GIBLIN, ESQ.
   PLAINTIFF:       INTERNATIONAL UNION OF OPERATING ENGINEERS LOCAL 825
   DEFENDANT:       INTERNATIONAL LONGSHOREMEN'S ASSOCIATION, ET AL
   VENUE:           DISTRICT
   DOCKET:          223 CV 03689 KM JRA
   COMMENT:
